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MCKOOL SMITH, P.C.
Robin L. Cohen (NJ Attorney ID No. 030501986)
Adam Ziffer (admitted pro hac vice)
Marc T. Ladd (admitted pro hac vice)
Denise N. Yasinow (NJ Attorney ID No. 148032015)
One Bryant Park, 47th Floor
New York, NY 10036
Tel: (212) 402-9400
Attorneys for Plaintiff Pharmacia Corporation
n/k/a Pfizer Inc.

               IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEW JERSEY


PHARMACIA CORPORATION N/K/A                     Civil Action No. 2:18-cv-00510-
PFIZER INC.,                                    ES-MAH
             Plaintiff,

      v.

ARCH SPECIALTY INSURANCE                          PRETRIAL SCHEDULING
COMPANY, TWIN CITY FIRE                                  ORDER
INSURANCE COMPANY, and LIBERTY
MUTUAL INSURANCE COMPANY,

               Defendants.

      THIS MATTER having come before the Court for a scheduling conference

pursuant to Rule 16 of the Federal Rules of Civil Procedure on May 17, 2018, and

the parties having reviewed the Court’s Order dated May 18, 2018 [Dkt. No. 50] as

well as the Local Civil Rules, and for good cause shown,

      IT IS on this ______ day of ____________, 2018,

      ORDERED that this matter will proceed as follows:
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      1.     The Exchange of All Written Discovery Requests and Responses

Thereto. The parties may serve written discovery at any time, but prior to

September 28, 2018, which shall be responded to within 30 days of service thereof.

The parties’ right to serve interrogatories shall be limited to 25 single questions

including subparts.

      2.     Filing of the Parties’ Letter Memoranda on Dispute Regarding

Discovery of Settlement Agreements with Third Parties. Defendants shall file

and serve their letter memoranda (single spaced, no more than 6 pages) no later

than June 8, 2018. Within 24 hours of receiving Defendants’ papers, Plaintiff shall

give notice of the effort to obtain the settlement agreements to the relevant third

parties. Plaintiff and any third parties who so wish to intervene in this discovery

dispute shall file and serve their letter memoranda (single spaced, no more than 6

pages) no later than June 29, 2018. Defendants shall file and serve any reply

(single spaced, no more than 3 pages) no later than July 10, 2018.

      3.     Fact Discovery Deadline, Including Depositions. Fact discovery is

to remain open through and until December 31, 2018. All fact witness depositions

must be completed by the close of fact discovery. No discovery is to be issued or

engaged in beyond that date, except upon application and for good cause shown.

The number of party depositions to be taken by each side shall not exceed 5. The

total number of third-party depositions taken by either side shall not exceed 7. In



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the event the case has not been resolved by the close of fact discovery, the parties

shall promptly make a good faith effort to mediate their dispute.

      4.     Motions to Add New Parties and/or Amend Pleadings. Any

motion to add new parties, whether by amended or third-party complaint, must be

electronically filed no later than August 31, 2018. Any motion to amend pleadings

must be electronically filed no later than August 31, 2018.

      5.     Parties’ Proposed Motions for Summary Judgment Concerning

the Prior Pending Litigation Exclusion, the Prior Notice Exclusion, and

Exhaustion. In light of prior proceedings, the time for the parties to agree on a

schedule for the referenced summary judgment motions is premature at this time.

The parties will meet and confer following efforts at satisfying certain parties’

expressed desire for discovery related to these issues, and alert the Court at such

time as any of the parties intends to seek leave to schedule one or more of the

referenced summary judgment motions.

      6.     Expert Reports. All affirmative expert reports shall be served by

February 1, 2019. All responsive expert reports shall be served by March 22,

2019. Depositions of all experts shall be completed by April 15, 2019.




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      7.    Local Rules. The parties are directed to the Local Civil Rules for any

other matter not addressed by this Order or the Court’s Order dated May 18, 2018

[Dkt. No. 50].



      IT IS SO ORDERED.

Dated: ____________

                               _________________________________, U.S.M.J.




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